802 F.2d 461
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.WILLIAM WALKER, JR., Plaintiff-Appellantv.JUDGE HENRY POTTER, SUSAN MCKEOWN, and JOSEPH KIRWAN,Defendants-Appellees.
    No. 86-5533.
    United States Court of Appeals, Sixth Circuit.
    Aug. 14, 1986.
    BEFORE:  ENGEL, JONES and RYAN, Circuit Judges
    ORDER
    
      1
      This matter is before the Court upon consideration of appellant's appeal from the dismissal of his civil rights action, and motions to proceed in forma pauperis, and for appointment of counsel.  On June 18, 1986, this Court entered an order directing appellant to show cause why the appeal should not be dismissed for lack of jurisdiction because of a late filed notice of appeal.  Appellant responded alleging that he appealed from the order dismissing his Rule 60(b), Federal Rules of Civil Procedure motion.
    
    
      2
      Upon consideration, this Court finds appellant's arguments meritless and that the appeal must be dismissed for lack of jurisdiction.  Appellant explicitly states in his notice of appeal that he is appealing from the lower court's October 28, 1985 judgment rather than from the order of March 31, 1986.  As such, he failed to file a timely notice of appeal subsequent to the entry of the lower court's order of January 3, 1986.  The failure of an appellant to timely file a notice of appeal deprives an appellate court of jurisdiction.  Peake v. First Nat'l Bank &amp; Trust Co., 717 F.2d 1016 (6th Cir. 1983);  Reed v. Toledo Area Affirmative Action Program, 715 F.2d 253 (6th Cir. 1983), cert. denied, 105 S.Ct. 1207 (1985).
    
    
      3
      It is therefore ORDERED that appellant's motions for in forma pauperis status and appointment of counsel be and hereby are denied and the appeal dismissed for lack of jurisdiction.  Rule 9(d)(1), Rules of the Sixth Circuit.
    
    